                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

WAGSTAFF & CARTMELL LLP,                      )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )       Case No. 18-00870-CV-W-GAF
                                              )
NEAL R. LEWIS,                                )
                                              )
       Defendant.                             )

                                             ORDER

       Now before the Court are Plaintiff Wagstaff & Cartmell LLP’s (“Plaintiff” or “Wagstaff”)

Motion to Exclude the Expert Testimony of Neal R. Lewis (Doc. # 132); Plaintiff’s third Motion

for Summary Judgment (Doc. # 134); and Defendant Neal R. Lewis’s (“Defendant” or “Lewis”)

Rule 60(b) Motion for Reconsideration/Modification of October 24, 2019 Order Denying

Defendant’s Motion for Discretionary Dismissal. (Doc. # 147). Defendant opposes Plaintiff’s

Motions (Docs. ## 139, 144) and Plaintiff opposes Defendant’s Motion. (Doc. # 151). The parties

have also filed reply briefs for their respective motions. (Docs. ## 142, 150, 152). For the

following reasons, Defendant’s Motion for Reconsideration is DENIED; Defendant’s quantum

meruit counterclaim is DISMISSED with prejudice; and Plaintiff’s Motion to Exclude Expert

Testimony and third Motion for Summary Judgment are DENIED as moot.

                                          DISCUSSION

I.     PROCEDURAL HISTORY

       On November 1, 2018, Wagstaff filed its Complaint seeking a declaratory judgment

regarding attorney’s fees in relation to a wrongful death lawsuit initiated in a multi-district

litigation case in the Northern District of Ohio and later transferred to its district of origin, the




        Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 1 of 11
District of Arizona, for trial, captioned Allen v. American Capital Limited, et al., Case No. 2:16-

cv-02876-JAT (“Allen lawsuit”). (Doc. # 1). Wagstaff pleaded that subject matter jurisdiction

was proper in this Court pursuant to diversity jurisdiction. (Id.). Lewis, then proceeding pro se,

filed his Answer and Counterclaim on November 26, 2018. (Doc. # 4). In response, Wagstaff

filed a Motion to Dismiss Defendant’s Counterclaim and a Motion for Summary Judgment. (Docs.

## 9, 11). Thereafter, Lewis, still proceeding pro se, filed an Amended Answer and Counterclaims

and a Motion for Order Dismissing Plaintiff’s Motions as Moot. (Docs. ## 13, 14). Wagstaff then

filed a Motion to Dismiss Defendant’s Amended Counterclaims. (Doc. # 17). After this flurry of

filings, the Court issued an Order denying the Motion to Dismiss Defendant’s Counterclaim as

moot; granting in part and denying in part Lewis’s Motion for Order Dismissing Plaintiff’s

Motions as Moot; and ordering Lewis to show cause why Wagstaff’s Motion for Summary

Judgment should not be granted. (Doc. # 20).

       Counsel for Lewis appeared on January 10, 2019. (Doc. # 21). Seven days later, Lewis

filed a Motion to Dismiss for lack of jurisdiction, arguing that the Court lacked subject matter

jurisdiction because there was not complete diversity of the parties, and moved to stay the case

pending resolution of the jurisdictional issues. (Docs. ## 25, 27). The Court subsequently stayed

the case to determine if jurisdiction existed and referred the jurisdictional issue to a magistrate

judge for hearing. (Doc. # 30).

       On February 7, 2019, the late Honorable Magistrate Judge Matt J. Whitworth presided over

an evidentiary hearing regarding the domicile of Lewis at the time the case had been filed. (Doc.

# 38). The parties presented testimony from witnesses and various exhibits. (Doc. # 39). Based

on the record developed at the hearing, the Court determined it had subject matter jurisdiction over

the case and ordered Lewis to respond to Wagstaff’s Motion for Summary Judgment and Motion



                                                 2

        Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 2 of 11
to Dismiss Defendant’s Amended Counterclaims. (Doc. # 42). The stay was also lifted. (Id.).

       Lewis then filed a Notice of Voluntary Dismissal, or in the alternative, Motion for Leave

to Dismiss Counterclaims without Prejudice, and Motion for Leave to File Second Amended

Pleading. (Docs. ## 43, 45). Over the course of the next month, the parties submitted their briefs

on all outstanding issues and Lewis filed a Motion for Leave to File Sur-reply on the Motion to

Dismiss Defendant’s Amended Counterclaims. (Docs. ## 44, 46, 48-55). On May 7, 2019, the

Court determined Lewis could not voluntarily dismiss his counterclaims without leave of Court

and denied Lewis’s alternative Motion for Leave to Dismiss Counterclaims without Prejudice.

(Doc. # 57, pp. 4-6). The Court also denied his Motion for Leave to File Second Amended

Pleading because, in part, Lewis was attempting to state his quantum meruit counterclaim as an

affirmative defense. (Id. at pp. 6-8). However, in that same Order, the Court granted Wagstaff’s

Motion to Dismiss Defendant’s Amended Counterclaims, including the quantum meruit

counterclaim. (Id.). The next day, the Court denied Wagstaff’s first Motion for Summary

Judgment as premature. (Doc. # 58).

       Discovery finally commenced. After a few months of discovery, Wagstaff filed its second

Motion for Summary Judgment on July 22, 2019. (Doc. # 70). Four days later, Lewis filed his

second Motion for Leave to File Second Amended Pleading. (Doc. # 77). Then on September 10,

2019, Lewis filed his Motion for Discretionary Dismissal Without Prejudice. (Doc. # 93). On

October 24, 2019, the Court granted in part and denied in part Wagstaff’s second Motion for

Summary Judgment and denied Lewis’s second motion for leave to amend and motion to dismiss.

(Doc. # 97). In denying Lewis’s motion to dismiss, the Court noted abstention was not warranted

because there was no parallel state action and the six factors set forth in Scottsdale Insurance

Company v. Detco Industries, Incorporated, 426 F.3d 994 (8th Cir. 2005), weighed in favor of



                                                3

        Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 3 of 11
hearing the case. (Id. at pp. 6-8). In denying Lewis’s motion for leave to amend, the Court noted

that Lewis was once again attempting to disguise a quantum meruit counterclaim as an affirmative

defense. (Id. at pp. 8-10). The ruling on the second Motion for Summary Judgment narrowed the

issues remaining in the case to whether Lewis is entitled to some compensation for work he did on

the Allen lawsuit at Wagstaff’s behest after Ms. Allen retained Wagstaff and, if so, the amount and

value of such work. (Id. at p. 13). As the Court later explained in a subsequent Order, the ruling

on the second summary judgment motion effectively reconsidered and partially reinstated Lewis’s

quantum meruit counterclaim. (See Doc. # 124, p. 7).

        Thereafter, the parties sought an extension of certain deadlines. (Docs. ## 100, 103, 107).

In the briefing of the motion to extend, it became apparent the parties did not agree on the scope

of the remaining issues. (Doc. # 109, pp. 3-5). In the Order extending deadlines dated December

11, 2019, the Court reiterated that “the only remaining issues are (1) whether Defendant did any

work on the Allen lawsuit at Plaintiff’s behest and (2) if so, the amount and value of such work.”

(Id. at p. 5).

        On December 12, 2019, the Court held a telephone conference with the parties during

which Lewis continued to express some confusion regarding the scope of the remaining issues.

(Doc. # 112). In response to those concerns, the Court defined “behest” as “request,” otherwise

reaffirmed its analysis of the remaining issue in the December 11, 2019 Order, and verbally issued

a protective order requiring discovery, whether a 30(b)(6) deposition or otherwise, be limited to

the remaining issues: (1) whether Lewis did any work on the Allen lawsuit at Wagstaff’s request,

and (2) if so, the amount and value of such work. (Id.).

        Despite the protective order, Lewis persisted in seeking discovery on issues resolved by

prior orders during the deposition of Jonathan Kieffer, Wagstaff’s designated 30(b)(6) witness.



                                                 4

         Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 4 of 11
(Doc. # 119-2; Doc. # 124, pp. 3-4). As a result, Wagstaff filed its Motion for Further Protective

Order and Other Relief. (Doc. # 118). In the Order dated May 11, 2020, the Court again reiterated

the remaining issues and the scope of discovery allowed. (Doc. # 124, pp. 6-10). In an effort to

ensure the parties adhered to the protective order and to prevent further discovery abuses, the Court

appointed a special master to preside over the continuation of Kieffer’s deposition. (Id. at pp. 14-

15). The pending motions followed.

II.    MOTION FOR RECONSIDERATION (Doc. # 147)

A.     Legal Standard

       “The Federal Rules of Civil Procedure do not mention motions for reconsideration.”

Broadway v. Norris, 193 F.3d 987, 989 (8th Cir. 1999). Under Rule 54(b) “any order or other

decision, however designated, that adjudicates fewer than all the claims . . . may be revised at any

time before the entry of a judgment adjudicating all the claims and all the parties’ rights and

liabilities.” Some “Eighth Circuit caselaw suggests that motions to reconsider [under Rule 54(b)]

‘are nothing more than Rule 60(b) motions when directed at non-final orders.’” Disc. Tobacco

Warehouse, Inc. v. Briggs Tobacco & Specialty Co., Inc., No. 3:09-CV-05078-DGK, 2010 WL

3522476, at *2 (W.D. Mo. Sept. 2, 2010) (quoting Elder–Keep v. Aksamit, 460 F.3d 979, 984 (8th

Cir. 2006)).

       Under Rule 60(b) of the Federal Rules of Civil Procedure, a court may grant a party relief

from an order for the following reasons: “(1) mistake, inadvertence, surprise, or excusable neglect

. . . (3) fraud (whether previously called intrinsic or extrinsic), misrepresentation, or misconduct

by an opposing party . . . (5) the judgment has been satisfied, released or discharged; it is based on

an earlier judgment that has been reversed or vacated; or applying it prospectively is no longer

equitable; or (6) any other reason that justifies relief.” The moving party must show “‘exceptional



                                                  5

        Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 5 of 11
circumstances’ warranting ‘extraordinary relief.’” United States v. Mask of Ka-Nefer-Nefer, 752

F.3d 737, 743 (8th Cir. 2014) (quoting United States v. Young, 806 F.2d 805, 806 (8th Cir. 1986)).

“‘Rule 60(b) was not intended as a substitute for a direct appeal from an erroneous judgment.’”

Id. (quoting Spinar v. S.D. Bd. of Regents, 796 F.2d 1060, 1062 (8th Cir. 1986)). Nor is it “a

vehicle for simple reargument on the merits.” Broadway, 193 F.3d at 990. While a district court

has wide discretion in deciding whether to grant a Rule 60(b) motion, the Eighth Circuit has

warned that “exceptional circumstances are not present every time a party is subject to potentially

unfavorable consequences as a result of an adverse judgment properly arrived at.” Atkinson v.

Prudential Prop. Co., Inc., 43 F.3d 367, 373 (8th Cir. 1994).

       However, other courts have determined that a district court “has greater discretion to grant

a motion to reconsider an interlocutory order than a motion to reconsider brought pursuant to

Rule[] . . . 60(b).” Disc. Tobacco Warehouse, 2010 WL 3522476, at *2; see also Garrett v.

Albright, No. 4:06–CV–4137–NKL, 2008 WL 268993, at *2 n.2 (W.D. Mo. Jan. 30, 2008). A

court has “an interest in judicial economy and ensuring respect for the finality of its decisions,

values which would be undermined if it were to routinely reconsider its interlocutory orders.”

Heubel Material Handling, Inc. v. Universal Underwriters Ins. Co., No. 4:10-CV-00102-DGK,

2011 WL 1458654, at *2 (W.D. Mo. Apr. 15, 2011). “Accordingly, [a district court] may

reconsider an interlocutory order only if the moving party demonstrates (1) that it did not have a

fair opportunity to argue the matter previously, and (2) that granting the motion is necessary to

correct a significant error.” Disc. Tobacco Warehouse, 2010 WL 3522476, at *2; see also

Commerce Bank v. U.S. Bank Nat’l Ass’n, No. 4:13-CV-00517-BCW, 2015 WL 12806575, at *1

(W.D. Mo. Nov. 2, 2015).




                                                6

        Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 6 of 11
B.     Analysis

       Lewis argues that the Court should reconsider its October 24, 2019 Order denying his

Motion for Discretionary Dismissal because (1) purportedly new evidence shows that the attorney-

client contract entered into between Ms. Allen and Wagstaff is void and unenforceable; and (2)

Lewis, as the injured party, should be permitted to select the forum and time for suit against

Wagstaff, the putative tortfeasor, in a tort action rather than through a declaratory action seeking

a declaration of nonliability. (Docs. ## 147, 149). Wagstaff argues that, under the less-stringent

standard for reconsideration of interlocutory rulings set forth in cases like Discount Tobacco and

Commerce Bank, the Court should deny reconsideration because he had a fair opportunity to argue

the matter previously and the Court reached the right decision in its October 2019 Order. (Doc. #

151). The Court agrees with Wagstaff.

       In his Motion for Discretionary Dismissal and again in this Motion for Reconsideration,

Lewis is asking the Court to abstain from exercising its subject-matter jurisdiction over this matter.

The Court is fully aware that Lewis disagrees with its factual finding that he was a citizen of

Indiana at the time the case was initiated, which resulted in the Court having diversity jurisdiction

over the declaratory judgment claims arising under state law. As the Court has jurisdiction over

the matter, it also has a “virtually unflagging obligation” to exercise jurisdiction over this case.

Colo. River Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976). Although the

Declaratory Judgment Act, 28 U.S.C. § 2201, grants the Court substantial discretion to decide

whether to abstain in deference to a parallel state suit, GEICO Cas. Co. v. Hollandsworth, No.

4:18-cv-00197-DGK, 2019 WL 342165, at *2 (W.D. Mo. Jan. 28, 2019) (quoting Wilton v. Seven

Falls Co., 515 U.S. 277, 286 (1995)), there is no parallel state action here. Accordingly, the

Court’s discretion is more restricted. Lexington Ins. Co. v. Integrity Land Title Co., Inc., 721 F.3d



                                                  7

        Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 7 of 11
958, 968 (8th Cir. 2013).

        As stated in the October 2019 Order, the Eighth Circuit has directed district courts to

examine six factors when determining whether to exercise jurisdiction over a declaratory judgment

action when no parallel state action is pending. Scottsdale Ins. Co.., 426 F.3d at 998-99. Those

factors are:

        (1) whether the declaratory judgment sought will serve a useful purpose in
        clarifying and settling the legal relations in issue; (2) whether the declaratory
        judgment will terminate and afford relief from the uncertainty, insecurity, and
        controversy giving rise to the federal proceeding; (3) the strength of the state’s
        interest in having the issues raised in the federal declaratory judgment action
        decided in the state courts; (4) whether the issues raised in the federal action can
        more efficiently be resolved in the court in which the state action is pending; (5)
        whether permitting the federal action to go forward would result in unnecessary
        entanglement between the federal and state court systems, because of the presence
        of overlapping issues of fact or law; and (6) whether the declaratory judgment
        action is being used merely as a device for procedural fencing—that is, to provide
        another forum in a race for res judicata or to achieve a federal hearing in a case
        otherwise not removable.

Id. at 998 (internal quotation marks, citations, and alterations omitted).

        The analysis of these six factors has not changed. If anything, the factors weigh even

stronger in favor of the Court retaining jurisdiction. Importantly, there is still no pending parallel

action in any other court. The parties have completed discovery and a bench trial in this matter is

less than two months away. Considerations of judicial economy and wise judicial administration

would be wholly defeated if the Court were to dismiss the case at this juncture. See Lexington

Ins., 721 F.3d at 967-68.

        Moreover, Lewis’s arguments for reconsideration are merely a reframing of the arguments

he raised during the briefing on the original Motion for Discretionary Dismissal and throughout

the briefing of the many other issues considered and decided by the Court thus far. Lewis has

consistently argued that he is the victim of Wagstaff’s wrongdoing from his initial answer to



                                                  8

        Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 8 of 11
present. Initially, he requested the Court grant him relief through counterclaims but, after

obtaining counsel, his strategy changed. He has attempted to evade the Court’s jurisdiction ever

since.

         The Court has recognized from nearly the outset of this case that violations of the rules of

professional conduct likely occurred during the representation of Ms. Allen in the Allen lawsuit

by both Wagstaff and Lewis. Was Wagstaff’s Contract for Employment with Ms. Allen void and

unenforceable? It very well may be. However, Ms. Allen is the person that has standing to assert

that claim. Lewis was not and is not a third-party beneficiary to the contract between Wagstaff

and Ms. Allen. The only reason the Court has addressed the enforceability of Lewis’s contingency-

fee agreement with Ms. Allen is because he asserted that that agreement was one basis for his

claim for a portion of the attorney’s fees from the Allen lawsuit.

         The Court does not disagree with Lewis that two separate contingency-fee agreements for

the same legal matter likely violates ethical responsibilities to the client. And the Court suspects

that if Lewis sought to enforce his contingency-fee agreement by filing suit against Ms. Allen, she

would likely assert a third-party claim against Wagstaff for the same while also asserting a defense

that her contingency-fee agreement with Lewis was void. However, that is not the posture of this

matter. And there is no parallel suit pending in some other court asserting such claims. As such,

abstention is not warranted.

III.     DAUBERT & SUMMARY JUDGMENT MOTIONS (Docs. # 132 & 134)

         Wagstaff seeks summary judgement on the two issues the Court has identified as remaining

in the case: (1) whether Lewis did any work on the Allen lawsuit at Wagstaff’s request; and (2) if

so, the amount and value of such work. (Doc. # 134). Lewis argues these two issues derive from

Wagstaff’s initial declaratory judgment complaint, specifically its fourth and fifth requests that the



                                                  9

         Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 9 of 11
Court declare: (d) that Lewis is not entitled to any attorney’s fee in relation to the Allen lawsuit;

and (e) that Plaintiff is not responsible for compensating Lewis for any attorney’s fee in relation

to the Allen lawsuit. (Doc. # 144, p. 22). Lewis’s argument is not accurate.

       When ruling on Wagstaff’s second summary judgment motion, the Court determined

evidence existed showing Lewis had done some work on the Allen lawsuit at Wagstaff’s request

after Wagstaff was retained by Ms. Allen, and therefore, may be entitled to compensation in

quantum meruit. (Doc. # 97, p. 13). With this finding, the Court declined to enter the fourth and

fifth declaratory judgments requested by Wagstaff. This same finding also partially reinstated

Lewis’s previously dismissed quantum meruit counterclaim, as the Court explained in its May

2020 Order. (See Doc. # 124, p. 7). It is Lewis’s quantum meruit counterclaim that requested the

Court declare the amount of fees and expenses to which he is entitled to receive in quantum meruit

from the funds being held by Wagstaff. (Doc. # 13, p. 35-36, ¶ 240). As stated in the December

2019 Order, Missouri law places the burden on Lewis to prove that his attorney’s fees are fair and

reasonable in quantum meruit claims. (See Doc. # 109, p. 5 (citing Williams v. Cass, 372 S.W.2d

156, 161 (Mo. Ct. App. 1963)).

       Despite the fact that the Court has made it clear in prior rulings that Lewis’s quantum

meruit counterclaim is still before the Court, Lewis has chosen to abandon it at this juncture. (Doc.

# 144, pp. 33-34). In abandoning his counterclaim, Lewis indicates that he seeks dismissal without

prejudice so that he can pursue his claims elsewhere. (Id.). “It is not [the Court’s] duty to question

such abandonment.” Cretcher Lynch & Co. v. Nat’l Council on Comp. Ins., Inc., 149 F.3d 817,

820 (8th Cir. 1998). However, abandonment of a claim does not result in a dismissal without

prejudice. Abandonment of a claim is akin to a failure to prosecute. See, e.g., Amsinger v. I.R.S.,

No. 4:13CV00281 ERW, 2013 WL 6008208, at *2 (E.D. Mo. Nov. 13, 2013) (treating abandoned



                                                 10

       Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 10 of 11
claims, not as a voluntary dismissal, but as a failure to prosecute); Ozeroglu v. Hershewe Law

Firm, P.C., No. 08-5070-CV-SW-RED, 2010 WL 11509013, at *3 (W.D. Mo. Mar. 17, 2010)

(dismissing abandoned claims with prejudice). This is especially true where, as here, a litigant has

delayed the proceedings by ignoring court orders and repeatedly attempting to avoid the Court’s

jurisdiction. See Amsinger, 2013 WL 6008208, at *2. Under the Federal Rules of Civil Procedure,

a dismissal for failure to prosecute “operates as an adjudication on the merits.” Fed. R. Civ. P.

41(b). As such, Lewis’s quantum meruit counterclaim is dismissed with prejudice, thereby

mooting Wagstaff’s third Motion for Summary Judgment and Motion to Exclude the Expert

Testimony of Neal R. Lewis.

                                         CONCLUSION

       Lewis has not established that the Court should reconsider its ruling denying his Motion

for Discretionary Dismissal.       Lewis has abandoned his quantum meruit counterclaim.

Accordingly, all outstanding issues in this case have been resolved and Wagstaff’s pending

motions are moot. For these reasons and the reasons set forth above, Lewis’s Motion for

Reconsideration (Doc. # 147) is DENIED; Lewis’s quantum meruit counterclaim is DISMISSED

with prejudice; and Wagstaff’s Motion to Exclude Expert Testimony (Doc. # 132) and third

Motion for Summary Judgment (Doc. # 134) are DENIED as moot.

IT IS SO ORDERED.

                                                     s/ Gary A. Fenner
                                                     GARY A. FENNER, JUDGE
                                                     UNITED STATES DISTRICT COURT

DATED: October 29, 2020




                                                11

       Case 4:18-cv-00870-GAF Document 153 Filed 10/29/20 Page 11 of 11
